Case 2:18-cv-02421-JFW-E Document 90-3 Filed 06/11/18 Page 1 of 10 Page ID #:1650




                         EXHIBIT B
Case 2:18-cv-02421-JFW-E Document 90-3 Filed 06/11/18 Page 2 of 10 Page ID #:1651



                  UNITED STATES DISTRICT COURT
         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

  BROIDY CAPITAL MANAGEMENT                            Case No. 2:18-CV-02421-JFW-E
  LLC, ELLIOTT BROIDY, and ROBIN
  ROSENZWEIG,                                          The Honorable John F. Walter
  Plaintiffs,                                          The Honorable Charles F. Eick
  v.                                                   PLAINTIFFS’ SUBPOENA FOR
                                                       DOCUMENTS TO JOSEPH
  STATE OF QATAR, STONINGTON                           ALLAHAM
  STRATEGIES LLC, NICOLAS D.                           ________
  MUZIN, and DOES 1-10,
  Defendants.



         YOU ARE HEREBY COMMANDED, pursuant to Fed. R. Civ. P. 45, to produce the

  documents and things designated herein for inspection at the offices of Boies Schiller Flexner

  LLP, 575 Lexington Ave, 7th Floor, New York, NY 10022, within thirty (30) days of service, as

  provided under the Federal Rules of Civil Procedure. This subpoena for documents, including

  each individual Request for Documents (collectively, the “Requests”), shall be read and

  interpreted in accordance with the definitions and instructions identified below.

                              DEFINITIONS AND INSTRUCTIONS

         Plaintiffs incorporate by reference all the instructions, definitions, and rules contained in

  the Federal Rules of Civil Procedure, and for purposes of this Subpoena, the following

  instructions and definitions shall apply:

         1.      The singular of each word shall be construed to include its plural and vice-versa,

  and the root word and all derivations (e.g., “ing,” “ed”) shall be construed to include each other.

  The words “and” as well as “or” shall be construed both conjunctively and disjunctively.




                                                   1
Case 2:18-cv-02421-JFW-E Document 90-3 Filed 06/11/18 Page 3 of 10 Page ID #:1652



         2.      The present tense shall be construed to include the past tense and vice-versa.

  Where it is necessary to bring within the scope of these Requests information that might

  otherwise be construed to be outside their scope, the use of a verb in any tense shall be

  recognized as the use of that verb in all other tenses.

         3.      The terms “communication” and “communications” are defined to include any

  document, snail mail, email, phone call, SMS or text message (including WhatsApp, Signal, or

  similar encrypted messaging service), Facebook message, Facebook post, tweet on Twitter,

  direct message on Twitter, chat or message on any social media platform, and any other means

  used to convey information from one person to any other person or persons in any form. The

  term “snail mail” is defined as written communication delivered by the United States Postal

  Service, Federal Express, United Parcel Service, or any other delivery or courier.

         4.      The terms “document” and “documents” are defined to be synonymous in

  meaning and equal in scope to the usage of the term “documents” in Fed. R. Civ. P. 34(a)(1)(A).

  The terms “document” and “documents” are defined to include all writings of every kind and all

  electronically stored information (“ESI”), including but not limited to videos, photographs,

  sound recordings, images, charts, maps, records, memoranda, correspondence, handwritten or

  typewritten notes, calendars, diaries, telephone messages, data or data compilations, emails,

  attachments to emails, instant messages, PowerPoint presentations, spreadsheets, all other

  writings in hard copy or in electronic form, and all other material stored on computers, computer

  discs, CDs, DVDs, Blackberry or smartphone devices, tablets, personal digital assistants, USB

  “thumb” drives, electronic calendars, and telephone systems.

         5.      A draft of a non-identical copy is considered a separate document.




                                                    2
Case 2:18-cv-02421-JFW-E Document 90-3 Filed 06/11/18 Page 4 of 10 Page ID #:1653



         6.      The terms “you” and “your” include the person(s) to whom these Requests are

  addressed, and all of that person’s agents, representatives, and attorneys.

         7.      The “State of Qatar” means the sovereign country so titled and all political,

  administrative, or legal subdivisions thereof, including but not limited to all agencies or

  instrumentalities thereof, the Embassy of the State of Qatar in the United States; all elected and

  appointed officials, employees, agents, consultants, and attorneys thereof; and any other person

  acting for or on behalf of any of them.

         8.      The term “including” shall be construed as “including, but not limited to.”

         9.      In producing documents, you are requested to produce the original of each

  document requested together with all non-identical copies and drafts of that document. If the

  original of any document cannot be located, a copy shall be provided in lieu thereof, and shall be

  legible and bound or stapled in the same manner as the original. In any circumstance in which

  an agreement is reached to allow the production of copies of documents rather than originals,

  you shall retain all of the original documents for inspection or copying throughout the pendency

  of this case, any appeal(s), and any related proceedings.

         10.     Any alteration of a responsive document, including any marginal notes,

  handwritten notes, underlining, date stamps, received stamps, endorsed or filed stamps, drafts,

  revisions, modifications, and other versions of a document, is a responsive document in its own

  right and must be produced.

         11.     Unless words or terms have been given a specific definition herein, each word or

  term used herein shall be given its usual and customary dictionary definition, except where such

  words have a usual custom and usage definition in your trade or industry, in which case they




                                                   3
Case 2:18-cv-02421-JFW-E Document 90-3 Filed 06/11/18 Page 5 of 10 Page ID #:1654



  shall be interpreted in accordance with such usual custom and usage definition of which you are

  aware.

           12.   Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, documents shall

  be produced either (a) as they are kept in the usual course of business (in which case they shall

  be produced in such fashion as to identify the department, branch or office in whose possession it

  was located and, where applicable, the natural person in whose possession it was found or the

  server or central file in which it was found, and the address of each document’s custodian(s)), or

  (b) segregated as responsive to a specific Request enumerated in these Requests, with such

  specific Request identified.

           13.   All documents shall be produced in the file folder, envelope, or other container in

  which the documents are kept or maintained. If, for any reason, the container cannot be

  produced, produce copies of all labels or other identifying marks.

           14.   Documents attached to each other should not be separated.

           15.   If you file a timely objection to any portion of a Request, definition, or

  instruction, provide a response to the remaining portion.

           16.   The time period to which these Requests refer is from May 1, 2017 to the present.

  If any document is undated and the date of its preparation cannot be determined, the document

  shall be produced if otherwise responsive to any of the Requests.

           17.   These Requests are continuing and require supplemental responses in accordance

  with the requirements of Federal Rule of Civil Procedure 26(e).

           18.   The terms defined above and used in each of the Requests should be construed

  broadly to the fullest extent of their meaning in a good-faith effort to comply with the Federal

  Rules of Civil Procedure.




                                                   4
Case 2:18-cv-02421-JFW-E Document 90-3 Filed 06/11/18 Page 6 of 10 Page ID #:1655



                                 DOCUMENTS TO BE PRODUCED

  Document Request No. 1

         All documents concerning or constituting communications regarding Plaintiffs with the

  State of Qatar or with its officials, agents, or any persons acting on its behalf, including but not

  limited to Nicolas D. Muzin.

  Document Request No. 2

         All documents concerning or constituting communications related to payments to You

  relating to Your representation of the State of Qatar.

  Document Request No. 3

         All documents concerning or constituting communications regarding Your retention by

  the State of Qatar.

  Document Request No. 4

         All documents concerning or constituting communications relating to one or more of the

  Plaintiffs with agents of the State of Qatar (whether registered or unregistered), including

  individuals or entities associated with, or employed by, Avenue Strategies Global LLC, Ashcroft

  Law Group, Levick Strategic Communications, Information Management Services Inc., Conover

  & Gould Strategic Communications, Gallagher Group, Global Risk Advisors, McDermott, Will

  & Emery, Nelson Mullins Riley & Scarborough LLP, Portland PR, Mercury Public Affairs,

  Bluefront Strategies, Hawksbill Group, Vitello Consulting, Iron Bridge Strategies, Tigercomm

  LLC, Husch Blackwell Strategies, SGR Government Relations & Lobbying, and Venable LLP.




                                                    5
Case 2:18-cv-02421-JFW-E Document 90-3 Filed 06/11/18 Page 7 of 10 Page ID #:1656



  Dated: April 23, 2018
         New York, New York

                                            /s/ Amy Neuhardt
                                            Amy Neuhardt
                                            BOIES SCHILLER FLEXNER LLP
                                            1401 New York Ave., NW
                                            Washington, DC 20005
                                            Telephone: (202) 237-2727
                                            Fax: (202) 237-6131
                                            Email: ameuhardt@bsfllp.com

                                            Counsel for Plaintiffs




                                        6
Case 2:18-cv-02421-JFW-E Document 90-3 Filed 06/11/18 Page 8 of 10 Page ID #:1657



                      Text of Federal Rule of Civil Procedure 45(d) and (e)

  (d) PROTECTING A PERSON SUBJECT TO A SUBPOENA; ENFORCEMENT.

          (1)    Avoiding Undue Burden or Expense; Sanctions. A party or attorney responsible
  for issuing and serving a subpoena must take reasonable steps to avoid imposing undue burden
  or expense on a person subject to the subpoena. The court for the district where compliance is
  required must enforce this duty and impose an appropriate sanction—which may include lost
  earnings and reasonable attorney’s fees—on a party or attorney who fails to comply.

         (2)    Command to Produce Materials or Permit Inspection.

                 (A)     Appearance Not Required. A person commanded to produce documents,
         electronically stored information, or tangible things, or to permit the inspection of
         premises, need not appear in person at the place of production or inspection unless also
         commanded to appear for a deposition, hearing, or trial.

                 (B)     Objections. A person commanded to produce documents or tangible things
         or to permit inspection may serve on the party or attorney designated in the subpoena a
         written objection to inspecting, copying, testing, or sampling any or all of the materials or
         to inspecting the premises—or to producing electronically stored information in the form
         or forms requested. The objection must be served before the earlier of the time specified
         for compliance or 14 days after the subpoena is served. If an objection is made, the
         following rules apply:

                      (i)     At any time, on notice to the commanded person, the serving party
                may move the court for the district where compliance is required for an order
                compelling production or inspection.

                        (ii)    These acts may be required only as directed in the order, and the
                order must protect a person who is neither a party nor a party’s officer from
                significant expense resulting from compliance.

         (3)    Quashing or Modifying a Subpoena.

                (A)     When Required. On timely motion, the court for the district where
         compliance is required must quash or modify a subpoena that:

                        (i)     fails to allow a reasonable time to comply;

                        (ii)   requires a person to comply beyond the geographical limits
                specified in Rule 45(c);

                       (iii)  requires disclosure of privileged or other protected matter, if no
                exception or waiver applies; or
Case 2:18-cv-02421-JFW-E Document 90-3 Filed 06/11/18 Page 9 of 10 Page ID #:1658



                        (iv)   subjects a person to undue burden.

                (B)      When Permitted. To protect a person subject to or affected by a subpoena,
         the court for the district where compliance is required may, on motion, quash or modify
         the subpoena if it requires:

                       (i)    disclosing a trade secret or other confidential research,
                development, or commercial information; or

                       (ii)    disclosing an unretained expert’s opinion or information that does
                not describe specific occurrences in dispute and results from the expert’s study
                that was not requested by a party.

                (C)    Specifying Conditions as an Alternative. In the circumstances described in
         Rule 45(d)(3)(B), the court may, instead of quashing or modifying a subpoena, order
         appearance or production under specified conditions if the serving party:

                       (i)    shows a substantial need for the testimony or material that cannot
                be otherwise met without undue hardship; and

                      (ii)   ensures that the subpoenaed person will be reasonably
                compensated.

  (e) DUTIES IN RESPONDING TO A SUBPOENA.

          (1)   Producing Documents or Electronically Stored Information. These procedures
  apply to producing documents or electronically stored information:

                (A)    Documents. A person responding to a subpoena to produce documents
         must produce them as they are kept in the ordinary course of business or must organize
         and label them to correspond to the categories in the demand.

                  (B)   Form for Producing Electronically Stored Information Not Specified. If a
         subpoena does not specify a form for producing electronically stored information, the
         person responding must produce it in a form or forms in which it is ordinarily maintained
         or in a reasonably usable form or forms.

                (C)     Electronically Stored Information Produced in Only One Form. The
         person responding need not produce the same electronically stored information in more
         than one form.

                 (D)    Inaccessible Electronically Stored Information. The person responding
         need not provide discovery of electronically stored information from sources that the
         person identifies as not reasonably accessible because of undue burden or cost. On
         motion to compel discovery or for a protective order, the person responding must show
         that the information is not reasonably accessible because of undue burden or cost. If that
Case 2:18-cv-02421-JFW-E Document 90-3 Filed 06/11/18 Page 10 of 10 Page ID #:1659



        showing is made, the court may nonetheless order discovery from such sources if the
        requesting party shows good cause, considering the limitations of Rule 26(b)(2)(C). The
        court may specify conditions for the discovery.

        (2)    Claiming Privilege or Protection.

               (A)     Information Withheld. A person withholding subpoenaed information
        under a claim that it is privileged or subject to protection as trial-preparation material
        must:

                       (i)     expressly make the claim; and

                       (ii)    describe the nature of the withheld documents, communications,
               or tangible things in a manner that, without revealing information itself privileged
               or protected, will enable the parties to assess the claim.

                (B)      Information Produced. If information produced in response to a subpoena
        is subject to a claim of privilege or of protection as trial-preparation material, the person
        making the claim may notify any party that received the information of the claim and the
        basis for it. After being notified, a party must promptly return, sequester, or destroy the
        specified information and any copies it has; must not use or disclose the information until
        the claim is resolved; must take reasonable steps to retrieve the information if the party
        disclosed it before being notified; and may promptly present the information under seal to
        the court for the district where compliance is required for a determination of the claim.
        The person who produced the information must preserve the information until the claim
        is resolved.
